Case 1:18-cv-23101-KMM Document 19 Entered on FLSD Docket 02/28/2019 Page 1 of 1



                          IN THE UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                     MIAMI DIVISION
   WAJDAN MOHAMMAD,                                       CASE NO.: 1:18-cv-23101

          Plaintiff,
   vs.

   BARCLAYS BANK DELAWARE,

          Defendant.
                                                  /

                                    NOTICE OF SETTLEMENT

          COMES NOW, Plaintiff, WAJDAN MOHAMMAD (“Plaintiff”), by and through

   undersigned counsel, and hereby files this Notice of Settlement, and states that Plaintiff and

   Defendant, BARCLAYS BANK DELAWARE, have come to an amicable settlement agreement.

   Date: February 28, 2019
                                  CERTIFICATE OF SERVICE

            I HEREBY CERTIFY that on this 28th day of February, 2019, I electronically filed the
    foregoing document with the Clerk of Court using CM/ECF. I also certify that the foregoing
    document is being served this day on all counsel of record or pro se parties either via transmission
    of Notices of Electronic Filing generated by CM/ECF or in some other authorized manner for
    those counsel or parties who are not authorized to receive electronically Notices of Electronic
    Filing.

                                                 /s/ Christopher W. Boss
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